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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                       TEL. 504-310-7700
CLERK                                                            600 S. MAESTRI PLACE,
                                                                         Suite 115
                                                                NEW ORLEANS, LA 70130

                            December 12, 2024

#94807-079
Mr. Mariano Benjamin Gutierrez-Munoz
FCI Victorville Medium II
P.O. Box 3850
Adelanto, CA 92301-0000

      No. 24-40708       USA v. Gutierrez-Munoz
                         USDC No. 7:22-CV-428

Dear Mr. Gutierrez-Munoz,
Before this appeal can proceed you must apply for a certificate of
appealability (COA) to comply with 28 U.S.C. § 2253. If you wish
to proceed, address your motion for COA to this court. Also send
a separate brief supporting the motion. In the brief set forth
the issues, clearly give supporting arguments. Your "motion for
COA" and "brief in support" together may not exceed a total of 30
pages. You must file 2 legible copies within 40 days from the
date of this letter.    If you do not do so we will dismiss the
appeal, see 5th Cir. R. 42. Note that 5th Cir. R. 31.4 and the
Internal Operating Procedures following rules 27 and 31 provides
the general sense of the court on the disposition of a variety of
matters, which includes that except in the most extraordinary
circumstances, the maximum extension for filing briefs is 30 days
in criminal cases and 40 days in civil cases.
The district court denied you permission to appeal in forma
pauperis. You need to: (1) pay the $605.00 appellate docketing
fee for filing the notice of appeal to the district court; or (2)
file a motion requesting permission to appeal in forma pauperis.
Attach to the motion the affidavit required by Fed. R. App. P. 24.
You must file your request to appeal in forma pauperis by the date
set for filing your brief. If you do not file the request by that
date, or if you do not receive an extension of time from this
court, you cannot proceed without paying costs. We will dismiss
your appeal if you fail to pay the fees or to request permission
to proceed in forma pauperis within 30 days.
Special guidance regarding filing certain documents:
General Order No. 2021-1, dated January 15, 2021, requires parties
to file in paper highly sensitive documents (HSD) that would
ordinarily be filed under seal in CM/ECF. This includes documents
likely to be of interest to the intelligence service of a foreign
government and whose use or disclosure by a hostile foreign
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government would likely cause significant harm to the United States
or its interests. Before uploading any matter as a sealed filing,
ensure it has not been designated as HSD by a district court and
does not qualify as HSD under General Order No. 2021-1.
A party seeking to designate a document as highly sensitive in the
first instance or to change its designation as HSD must do so by
motion. Parties are required to contact the Clerk’s office for
guidance before filing such motions.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk


                                By: _________________________
                                Roeshawn Johnson, Deputy Clerk
                                504-310-7998
cc:   Ms. Carmen Castillo Mitchell
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                          Case No. 24-40708




United States of America,
                       Plaintiff - Appellee
v.
Mariano Benjamin Gutierrez-Munoz,
                       Defendant - Appellant
